                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:18-CV-00612-RJC-DSC


 WILL SUMMERS JR et. al.,                        )
                                                 )
                   Plaintiffs,                   )
                                                 )
 v.                                              )                    ORDER
                                                 )
 CITY OF CHARLOTTE,                              )
                                                 )
                  Defendant.                     )



       THIS MATTER is before the Court on “Plaintiffs’ Motion to Compel Discovery

Responses” (document # 32) filed July 3, 2020, as well as the parties’ briefs and exhibits.


       Plaintiff seeks an order compelling Defendant to serve verified responses to its discovery

requests and finding that all objections have been waived. Defendant contends that it has been

unable to have its discovery responses verified due to the COVID-19 pandemic.


       NOW THEREFORE IT IS HEREBY ORDERED that:


       1.   “Plaintiffs’ Motion to Compel Discovery Responses” (document # 32) is GRANTED

            IN PART and DENIED IN PART, that is, within forty-five days of this Order,

            Defendant shall serve complete verified responses to Plaintiffs’ discovery requests.

            Objections are not deemed waived at this stage in the proceedings.

       2. The Clerk is directed to send copies of this Order to counsel for the parties and to the

            Honorable Robert J. Conrad, Jr..


       SO ORDERED.



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                       Signed: August 3, 2020




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